Case 8:17-cv-02826-JSM-SPF Document 79 Filed 01/07/22 Page 1 of 4 PageID 1646
          USCA11 Case: 19-12655 Date Filed: 01/07/2022 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         January 07, 2022

Clerk - Middle District of Florida
U.S. District Court
801 N FLORIDA AVE
TAMPA, FL 33602-3849

Appeal Number: 19-12655-JJ
Case Style: Hector Hernandez v. Plastipak Packaging, Inc.
District Court Docket No: 8:17-cv-02826-JSM-SPF

Enclosed is the Bill of Costs.

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
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                                          In the
                     United States Court of Appeals
                               For the Eleventh Circuit
                                 ____________________

                                       No. 19-12655
                                 ____________________

           HECTOR HERNANDEZ,
           on his own behalf and on behalf of those similarly situated,
                                                            Plaintiff-Appellee,
           versus
           PLASTIPAK PACKAGING, INC.,
           a Foreign Profit Corporation,


                                                         Defendant-Appellant.


                                 ____________________

                        Appeal from the United States District Court
                             for the Middle District of Florida
                         D.C. Docket No. 8:17-cv-02826-JSM-SPF
                                 ____________________




ISSUED AS MANDATE 01/07/2022
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          USCA11 Case: 19-12655 Date Filed: 01/07/2022 Page: 2 of 2




                                        JUDGMENT
           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                                 Entered: October 13, 2021
                        For the Court: DAVID J. SMITH, Clerk of Court




ISSUED AS MANDATE 01/07/2022
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                                                                        $500.00
                                                                      $72.45
                                                                       $969.75


                                                                       $54.00




                                                                       $1,596.20




                               $1,596.20                Appellee
                                 Appellant




                                             /S/ Tresa A. Porter      10/26/2021


ISSUED AS MANDATE 01/07/2022
